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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHASITY WATKINS, as Guardian of the Person and                 )
Estate of AIDEN GREEN, A minor,                                )
                                                               )
                               Plaintiff,                      )
                                                               )
       v.                                                      )      No. 18-CV-1297
                                                               )
VHS WEST SUBURBAN MEDICAL CENTER, INC.,                        )
et al.,                                                        )
                                                               )
                       Defendants.                             )

                     UNOPPOSED MOTION PURSUANT TO FRCP 42

       NOW COMES the Plaintiff, CHASITY WATKINS, as Guardian of the Person and Estate

of AIDEN GREEN, a minor, by and through her attorneys, COGAN & POWER, P.C., and moves

this Honorable Court to enter an order granting the Plaintiff leave to file a Second Amended

Complaint in the 18-CV-4142 matter to name VHS WEST SUBURBAN MEDICAL CENTER,

INC., MARY LEUNG, R.N. and KARRI MACMILLIAN, D.O., and dismissing the Complaint in

18-CV-1297 in its entirety, without prejudice. In support thereof, the Plaintiff states as follows:

       1.      This matter was originally filed in the Circuit Court of Cook County, Law Division,

on May 26, 2016 against the Defendants, VHS WEST SUBURBAN MEDICAL CENTER, INC.,

MARY LEUNG, R.N. and KARRI MACMILLIAN, D.O.

       2.      On November 1, 2017 Plaintiff was granted leave to file her Second Amended

Complaint at Law, adding Defendants, NATASHA DIAZ, M.D. and TYLER CALLAHAN, D.O.

Contemporaneous with the filing of the Second Amended Complaint a Standard Claim Form 95

was filed and served on the appropriate federal agency. Dr. Diaz and Dr. Callahan were working

for a federally funded clinic at the time of the occurrence.

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       3.      On February 21, 2018, the United States filed a Notice of Removal from the Circuit

Court of Cook County to the United States District Court, Northern District of Illinois and a Motion

to Dismiss. The matter was assigned case number 18-CV-1297.

       4.      As the Plaintiff had not yet exhausted her administrative remedies, the Court

entered an order staying the matter until June 12, 2018.

       5.      Once the Plaintiff had exhausted her administrative remedies, she filed a Third

Amended Complaint adding the United States in the 18-CV-1297 case. The United States moved

to dismiss that complaint arguing that a new complaint must be filed following exhaustion of

administrative remedies.. A new complaint naming the United States as a Defendant was filed and

assigned case number 18- CV- 4142.

       6.      This matter is currently proceeding under two separate complaints for the same

injury with largely the same set of operative facts.

       7.      On August 13, 2018 the Parties appeared before this Honorable Court and Judge

Durkin questioned the proper way to proceed and whether it was appropriate to get all the parties

under a single caption.

       8.      Under Federal Rule of Civil Procedure 42 “the Court may issue any order to avoid

unnecessary cost or delay.”

       9.      The Parties, pursuant to this Court’s request, move this Honorable Court to enter

the following order pursuant to FRCP 42:

               (A)     That the Plaintiff is granted leave to file an Amended Complaint in 18- CV-
                       4142, naming VHS WEST SUBURBAN MEDICAL CENTER, INC.,
                       MARY LEUNG, R.N., and KARRI MACMILLIAN, D.O. as Defendants.

               (B)     That any statute of limitations defenses that were not available to the
                       Defendants, VHS WEST SUBURBAN MEDICAL CENTER, INC.,
                       MARY LEUNG, R.N., and KARRI MACMILLIAN, D.O., at the time the
                       complaint was filed in 18-CV-1297, are waived.

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               (C)     That the original complaint, 18-CV-1297, is dismissed with all parties
                       proceeding under the 18-CV-4142 compliant.

               (D)     That if this matter is at any time remanded back to Illinois State Court that
                       the dismissal of the 18-CV-1297 complaint will not be considered a
                       voluntary dismissal or in any way effect the Plaintiff’s rights under 735
                       ILCS 5/2-1009.

       10.     The Defendants do not oppose this motion.

       WHEREFORE the Plaintiff prays this Honorable Court enter an order pursuant to FRCP

42 with relief as set forth above.

                                                     /s/ Michael P. Cogan_______________
                                                     One of the Attorneys for Plaintiff
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